            Case 2:10-cv-01952-RSL Document 311 Filed 09/06/13 Page 1 of 3



1
                                                                      The Honorable Robert S. Lasnik
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5
                            UNITED STATES DISTRICT COURT,
6                     WESTERN DISTRICT OF WASHINGTON AT SEATTLE

7    James McDonald                                        No. C10-1952-RSL
                                               Plaintiff
8                            v.                            Joint Motion & Stipulation for
     OneWest Bank, FSB,
     Northwest Trustee Services,                           Disbursement of Funds Held in Court
9    Mortgage Electronic Registration Systems,             Registry
                                            Defendants.    Noting Date: Same Day
10

11
         Plaintiff James McDonald, Defendant OneWest Bank, FSB, Defendant Mortgage
12
     Electronic Registration Systems and Defendant Northwest Trustee Services, join in this
13
     Motion as they have stipulated to have the funds from the Court registry held under this case
14
     be disbursed pursuant to Local Rule AG-GR6(b).
15
         The parties reached and executed a settlement agreement on August 28, 2013. It is agreed
16
     that the funds held in the Court registry as a result of the Preliminary Injunction (Dkt. #24)
17
     should be released to Plaintiff. Wherefore the parties request the Court to order that funds
18
     totaling $9,390.24, and any interest accrued, be disbursed by the Court Clerk within 14 days
19
     directly to the Plaintiff at his address of 14840 119th PL NE, Kirkland, WA 98034.
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                                                                             HA THU DAO, ESQ.
24
                                                                          Grand Central Law PLLC
     Joint Motion to Disburse Funds
                                                       1                  787 Maynard Ave. S., Seattle, WA 98104
25   from Court Registry
                                                                                             Tel. 727-269-9334
                                                                                              Fax727-264-2447
                                                                                    E-mail: hadaojd@gmail.com
26
            Case 2:10-cv-01952-RSL Document 311 Filed 09/06/13 Page 2 of 3



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         DATED this 6th day of September, 2013.
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4
                                                                                  /s/ Ha Thu Dao
5                                                                               Ha Thu Dao, Esq.
                                                                             Attorney for Plaintiff
6                                                                        Grand Central Law PLLC

7                                                                     /s/ Richard Llewelyn Jones
                                                                    Richard Llewelyn Jones, Esq.
8                                                                           Attorney for Plaintiff

9
                                                                         /s/ Heidi Buck Morrison
10                                                                  _______________________
                                                                      Heidi Buck Morrison, Esq.
11                                            13555 SE 36th Street, Ste 300, Bellevue WA 98006
                                                           Attorney for Defendants, RCO Legal
12
                                                                                 /s/ Julie Vacura
13                                                                      ____________________
                                                                          Julie Vacura, Esq.
14                                      Larkins Vacura, Attorney for OneWest Bank and MERS
                                       621 S.W. Morrison Street, Suite 1450, Portland, OR 97205
15
                                                                                /s/ Fred Burnside
16                                                                   _______________________
                                                                      Fred Burnside, Esq.
17                                                Davis Wright Tremaine LLP, Attorney for MERS
                                                   1201 Third Ave, Suite 2200, Seattle, WA 98101
18

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                                                                         HA THU DAO, ESQ.
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26
            Case 2:10-cv-01952-RSL Document 311 Filed 09/06/13 Page 3 of 3



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                                      CERTIFICATION OF SERVICE
3
            I hereby certify on August ____, 2013, the foregoing document is being served via
4    ___First Class Mail ___Priority Mail, ___Messenger Service ___Facsimile __Electronic
     Mail__X__ECF, upon the following parties:
5
     Heidi Buck Morrison & Charles Katz, Routh Crabtree Olsen,
6    13555 SE 36th Street, Ste 300, Bellevue WA 98006, 425-213-5534/Fax 425-458-2131
     hbuck@rcolegal.com, ckatz@rcolegal.com
7
     Julie Vacura & Joe Mueller, Larkins Vacura
8    621 S.W. Morrison Street, Suite 1450, Portland, OR 97205, 503-542-3103
     jvacura@larkinsvacura.com, jmueller@larkinsvacura.com
9
     Fred Burnside, Zana Bugaishis, Davis Wright Tremaine LLP
10   1201 Third Ave, Suite 2200, Seattle, WA 98101, 206-622-3150
     fredburnside@dwt.comm , zanabugaighis@dwt.com
11

12                                                     /s/ Ha Thu Dao
                                                       _______________________________
13                                                     Ha Thu Dao

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                                                                         HA THU DAO, ESQ.
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